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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION


 UNITED STATES OF AMERICA,                  )
                                            )
 Plaintiff,                                 ) Civil Action No. 19-cv-12736
                                            )
 v.                                         ) Honorable Nancy G. Edmunds
                                            ) Mag. Judge Anthony P. Patti
 CITY OF TROY, MICHIGAN,                    )
                                            )
 Defendant.                                 )


              UNITED STATES’ EX PARTE MOTION AND BRIEF
                  TO EXCEED PAGE LIMIT FOR REPLY

      Plaintiff United States of America moves ex parte pursuant to E.D. Mich. LR

7.1(d)(3) to exceed the page limit by one (1) page for its Reply Brief in support of

its Motion for Summary Judgment, filed concurrently.

      The United States moved for summary judgment on two distinct provisions

of the Religious Land Use and Institutionalized Persons Act of 2000 (“RLUIPA”),

42 U.S.C. §§ 2000cc-2000cc-5. In its response, Troy raised an issue that was not

addressed in the initial motion. In order to appropriately brief the new issue, new

facts and law must be addressed in the reply. For this reason, in order to fully address

Troy’s response, the United States requires an additional page for its Reply Brief.

      Accordingly, the United States respectfully requests the Court grant its motion

to exceed page limits by one (1) page in its Reply in Support of the United States’
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Motion for Summary Judgment, filed concurrently. A proposed order was submitted

via ECF.

                                      Respectfully submitted,

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 United States Attorney               Deputy Assistant Attorney General
 Eastern District of Michigan         Civil Rights Division

                                      SAMEENA SHINA MAJEED
                                      Chief

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 Dated: January 27, 2021




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                         CERTIFICATE OF SERVICE

      I hereby certify that on January 27, 2021, the foregoing paper was filed with
the Clerk of the Court using the ECF System which will give notice to all counsel of
record.

                                 /s/ Fatima Elzhenni
                                    Legal Assistant
                          United States Attorney’s Office
                        for the Eastern District of Michigan




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